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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

   UNITED STATES OF AMERICA
                                                     §
                                                     §
   v.                                                §   CRIMINAL NO. 4:19-CR-090-ALM-KPJ
                                                     §
   KEITH ALFRED HALL                                 §


                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the report of the United States Magistrate Judge in this action,

  this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

  On August 17, 2020, the Magistrate Judge entered proposed findings of fact and recommendations

  (Dkt. #18) that Defendant be committed to the custody of the Bureau of Prisons to be imprisoned

  for a term of thirty (30) days followed by twelve (12) months supervised release imposed with

  previous conditions of release with the same previously imposed conditions.

         Having received the Report of the United States Magistrate Judge, and no timely objections

  being filed, the Court is of the opinion that the findings and conclusions of the Magistrate Judge

  are correct and adopts the Magistrate Judge’s report as the findings and conclusions of the Court.

  Accordingly, Defendant is hereby committed to the custody of the Bureau of Prisons to be

. imprisoned for a term of thirty (30) days followed by twelve (12) months supervised release

  imposed with previous conditions of release with the same previously imposed conditions. The

  first five (5) months of release are to be home detention.

         IT IS SO ORDERED.

          SIGNED this 11th day of September, 2020.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
